     Case 3:16-cv-02575-TWR-MSB Document 197 Filed 10/16/20 PageID.4829 Page 1 of 2



 1
 2
 3
 4
 5
 6
 7
 8                              UNITED STATES DISTRICT COURT
 9                            SOUTHERN DISTRICT OF CALIFORNIA
10
11     ERIC BIDWELL, et al.,                                Case No.: 16-CV-2575 TWR (MSB)
12                                        Plaintiffs,
                                                            ORDER (1) DENYING THE
13     v.                                                   BIDWELL PLAINTIFFS’ MOTION
                                                            TO STRIKE DEFENDANTS’
14     COUNTY OF SAN DIEGO, et al.,
                                                            NOTICE OF SUPPLEMENTAL
15                                     Defendants.          AUTHORITY, AND (2) GRANTING
                                                            BIDWELL PLAINTIFFS LEAVE TO
16
                                                            FILE A RESPONSE
17
                                                            (ECF No. 196)
18
19           Presently before the Court is the Objection to and Motion to Strike Notice of
20     Supplemental Authority filed by Defendants (“Mot.,” ECF No. 196) filed by Plaintiffs Eric
21     Bidwell, Michael Feinstein, Azikiwe Franklin, and Jeff Provenzano (the “Bidwell
22     Plaintiffs”). The Bidwell Plaintiffs request that the Court strike the Notice of Supplemental
23     Authority filed by Defendants for failure to comply with the Court’s Standing Order for
24     Civil Cases or, alternatively, permit the Bidwell Plaintiffs to file a sur-reply. (See Mot. at
25     1.)
26           Because the Court granted Defendants leave to file “a single, three-page notice of
27     supplemental authority addressing the applicability of the Cervantes order to their pending
28     motions for summary judgment,” (see ECF No. 192 at 1–2), the Court OVERRULES the

                                                        1
                                                                                 16-CV-2575 TWR (MSB)
     Case 3:16-cv-02575-TWR-MSB Document 197 Filed 10/16/20 PageID.4830 Page 2 of 2



 1     Bidwell Plaintiffs’ objection and DENIES the Bidwell Plaintiffs’ request to strike
 2     Defendants’ Notice of Supplemental Authority. Nonetheless, the Court GRANTS the
 3     Bidwell Plaintiffs leave to file a response, not to exceed three (3) pages, to discuss the
 4     distinguishing characteristics of Cervantes. No further briefing on the Cervantes order will
 5     be permitted.
 6           IT IS SO ORDERED.
 7
 8     Dated: October 16, 2020
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                                    2
                                                                               16-CV-2575 TWR (MSB)
